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15
                       UNITED STATES DISTRICT COURT
16
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
17
     JENNY LISETTE FLORES, et al.,           ) Case No. CV 85-4544
18                                           )
19           Plaintiffs,                     ) NOTICE OF APPEAL
                                             )
20
                  v.                         )
21                                           )
22   WILLIAM P. BARR, Attorney               )
     General of the United States; et al.,   )
23                                           )
24           Defendants.                     )
                                             )
25
                                             )
26
27
           Defendants the U.S. Department of Homeland Security, including its
28
     components U.S. Immigration and Customs Enforcement and U.S. Customs and
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1 Border Protection, and the U.S. Department of Health and Human Services, hereby
2 appeal the Court’s Order Re Plaintiffs' Motion To Enforce Settlement And Defendant'
3
  Notice Of Termination And Motion In The Alternative To Terminate The Flores
4
5 Settlement Agreement, ECF No. 688, and Permanent Injunction, ECF No. 690, both
6 entered on September 27, 2019, in the above-captioned case to the United States
7
     Court of Appeals for the Ninth Circuit.
8
     DATED:       November 14, 2019            Respectfully submitted,
9
10                                             JOSEPH H. HUNT
11                                             Assistant Attorney General
                                               Civil Division
12
13                                             /s/ August E. Flentje
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27                                             Attorneys for Defendants

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1                          CERTIFICATE OF SERVICE
2        I hereby certify that on November 14, 2019, I served the foregoing notice on
3 all counsel of record by means of the District Clerk’s CM/ECF electronic filing
4 system.
5
6                                              /s/ August E. Flentje
7                                              AUGUST E. FLENTJE
8                                              U.S. Department of Justice
                                               Civil Division
9
10                                             Attorney for Defendants
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